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16 LIBERTY INSURANCE CORPORATION
17
                             UNITED STATES DISTRICT COURT
18
          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
19
20
   RLC INDUSTRIES CO. and ROSEBURG              Case No. 2:23-cv-00649-TLN-DB
21 FOREST PRODUCTS CO.,
                                                Assigned to the Hon. Troy L. Nunley and
22             Plaintiffs,                      Magistrate Judge Deborah Barnes
23       v.
                                                STIPULATION AND ORDER TO
24 LIBERTY INSURANCE                            MODIFY THE PRETRIAL
   CORPORATION, EVEREST NATIONAL                SCHEDULING ORDER
25 INSURANCE COMPANY, and THE
   OHIO CASUALTY INSURANCE
26 COMPANY,
27             Defendants.
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                              STIPULATION TO MODIFY THE PRETRIAL SCHEDULING ORDER; ORDER
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 1         TO THE HONORABLE COURT:
 2         Plaintiffs RLC Industries, Inc. and Roseburg Forest Products Co. (collectively
 3 “Roseburg”), and Defendant Liberty Insurance Corporation (“Liberty”) (collectively “the
 4 Parties”), by and through their attorneys of record, enter into the following stipulation for
 5 an order modifying the Court’s Scheduling Order (ECF 5) to continue the completion dates
 6 for (1) expert witness disclosures; (2) rebuttal expert disclosures; and (3) the expert
 7 discovery cutoff date.
 8 I.      RECITALS.
 9         WHEREAS:
10         1.     On April 7, 2023, Roseburg filed its Complaint in this action against Liberty,
11 The Ohio Casualty Insurance Company and Everest National Insurance Company.
12 Roseburg asserts causes of action for breach of contract and breach of the covenant of
13 good faith and fair dealing against Liberty. Roseburg alleges that Liberty failed to defend
14 Roseburg against claims arising out of a fire in Weed, California, which originated on
15 Roseburg’s premises. Roseburg further alleges that Liberty’s conduct was in bad faith.
16 Liberty denies Roseburg’s claims.
17         2.     On May 26, 2023, Liberty filed its Answer to Roseburg’s Complaint.
18         3.     On April 7, 2023, the Court issued its Initial Pretrial Scheduling Order.
19 (ECF 5).
20         4.     On June 30, 2023, the Parties submitted their Joint Federal Rule 26(f) Report
21 and Discovery Plan. (ECF 24).
22         5.     On July 11, 2023, the Court issued a Minute Order advising the Parties to
23 submit any request to modify the Court’s Initial Pretrial Scheduling Order through a
24 Stipulation and Proposed Order for the Court’s consideration. (ECF 25).
25         6.     On August 7, 2023, pursuant to Roseburg and defendant Ohio Casualty
26 Insurance Company’s Stipulation, the Court dismissed Ohio Casualty with prejudice.
27 (ECF 28).
28         7.     On May 3, 2024, pursuant to Roseburg and defendant Everest National

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 1 Insurance Company’s Stipulation, the Court dismissed Everest with prejudice. (ECF 56).
 2         8.     On December 19, 2023, the Court granted Roseburg’s and Liberty’s request
 3 to modify the Initial Pretrial Scheduling Order. (ECF 32). The Order continued the non-
 4 expert discovery completion date from January 19, 2024 to May 3, 2024.
 5         9.     The Parties have completed all written discovery apart from that associated
 6 with a Joint Statement addressing the sufficiency of Liberty’s responses to discovery that
 7 Roseburg served in September 2023, which remains pending before Magistrate Judge
 8 Barnes. (ECF nos. 58, 59, 60, 46, 54 and 62).
 9         10.    On April 6, 2024, the Court granted Roseburg’s and Liberty’s second request
10 for limited modifications of the Initial Pretrial Scheduling Order. (ECF 41). The Order
11 continued the non-expert discovery completion date to May 31, 2024 for the limited
12 purpose of taking certain depositions; potential discovery if Magistrate Judge Barnes finds
13 in Roseburg’s favor on the pending discovery motion; and potential discovery disputes
14 regarding privilege logs.
15         11.    The Parties require additional time to designate expert witnesses and disclose
16 their written reports. Additional time is necessary because of: (1) the short time frame
17 between the modified discovery completion date of May 31, 2024, and the current initial
18 expert disclosure date of July 5, 2024; and (2) scheduling conflicts among one or more
19 experts to complete their reports and depositions within the current schedule.
20         12.    Based on their experts’ and counsel’s schedules, the Parties have agreed, and
21 seek the Court’s approval, to extend: (1) the initial expert disclosures to August 2, 2024;
22 (2) the rebuttal expert disclosures to August 30, 2024; (3) the expert-discovery cutoff
23 (including the time to file expert discovery motions) to November 22, 2024.
24         13.    To accommodate the scheduling conflicts among one or more experts, the
25 Parties agree to waive any requirement to provide supplemental or rebuttal reports by their
26 respective experts, who will opine on the reasonableness and necessity of the fees and
27 costs that Roseburg incurred (“Damages Experts”), except that (1) Liberty’s Damages
28 Expert may issue a report to address new issues not raised in their initial report or

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                               STIPULATION TO MODIFY THE PRETRIAL SCHEDULING ORDER; ORDER
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 1 otherwise to offer rebuttal/supplemental opinions to Plaintiffs’ Damages Expert and (2)
 2 Roseburg’s Damages Expert will be permitted to address new issues raised in Liberty’s
 3 Damages Expert’s report (if any) or to otherwise offer rebuttal/supplemental opinions to
 4 Liberty’s Damages Expert in deposition testimony.
 5         14.    With an extension of the foregoing dates, the Parties also agree and ask the
 6 Court to extend the dispositive motion deadline to December 12, 2024, which will allow
 7 for the completion of expert discovery prior to the dispositive motion deadline.
 8 II.     STIPULATION.
 9         Therefore, the Parties, by and through their counsel of record, hereby stipulate to an
10 order from the Court extending the expert discovery and dispositive motions deadlines in
11 this matter to the following dates:
12         ●      August 2, 2024:             Initial Expert Disclosures Due.
13         ●      August 30, 2024:            Rebuttal Expert Disclosures Due.
14         ●      October 25, 2024:           Last Day to Depose Expert Witnesses.
15         ●      November 22, 2024:          Expert Discovery Cutoff/Last Day to File
16                                            Motions Related to Expert Discovery Issues.
17         ●      December 12, 2024:          Last Day to File Dispositive Motions.
18         All other dates in the Court’s prior Scheduling Orders will remain the same.
19         IT IS SO STIPULATED.
20
21 Dated: June 27, 2024
22                                    HUNTON ANDREWS KURTH LLP
23
                                                          /s/ Rachel E. Hudgins
24                                    By            [as authorized on June 27, 2024]
25                                                        SCOTT P. DeVRIES
                                                        RACHEL E. HUDGINS
26                                                       Attorneys for Plaintiffs
27                                               RLC INDUSTRIES CO. and ROSEBURG
                                                       FOREST PRODUCTS CO.
28 [signatures continued on next page]

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                               STIPULATION TO MODIFY THE PRETRIAL SCHEDULING ORDER; ORDER
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 1 Dated: June 27, 2024
 2                             SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 3
 4                             By                 /s/ Mary E. Gregory
 5                                               JEFFREY S. CROWE
                                                SCOTT SVESLOSKY
 6                                              MARY E. GREGORY
 7                                              Attorneys for Defendant
                                         LIBERTY INSURANCE CORPORATION
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                          STIPULATION TO MODIFY THE PRETRIAL SCHEDULING ORDER; ORDER
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 1                                          ORDER
 2        Having considered the Stipulation and for good cause shown, IT IS HEREBY
 3 ORDERED that the current Pretrial Scheduling Order in this case (ECF 32) be modified as
 4 follows:
 5        ●      August 2, 2024:            Initial Expert Disclosures Due.
 6        ●      August 30, 2024:           Rebuttal Expert Disclosures Due.
 7        ●      October 25, 2024:          Last Day to Depose Expert Witnesses.
 8        ●      November 22, 2024:         Expert Discovery Cutoff/Last Day to File
 9                                          Motions Related to Expert Discovery Issues.
10        ●      December 12, 2024:         Last Day to File Dispositive Motions.
11        All other dates in the Court’s prior Scheduling Orders will remain the same.
12
13        IT IS SO ORDERED.
14 DATED: June 28, 2024
15                                                   Troy L. Nunley
                                                     United States District Judge
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                             STIPULATION TO MODIFY THE PRETRIAL SCHEDULING ORDER; ORDER
